        Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 1 of 11



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              Case No. 16-CV-06691 (AT)(JLC)
FLORENCIO           MENDOZA       JAVA,
individually and on behalf of all others
similarly situated,
                            Plaintiff,

                   - against-
                                 PROPOSED FINDINGS OF FACTS
EL AGUILA BAR RESTAURANT CORP. AND CONCLUSIONS OF LAW
d/b/a EL AGUILA, LAS BANDERAS
SPORTS BAR CATERING LOUNGE
CORP., d/b/a LAS BANDERAS SPORTS
BAR, SANTIAGO ALMONTE and JUAN
ALMONTE,

                                Defendants.


       EL AGUILA BAR RESTAURANT CORP. d/b/a EL AGUILA (“El Aguila”) and JUAN
ALMONTE (“Almonte”) (collectively “Appearing Defendants”) by their undersigned counsel,
hereby submit to the Court the following proposed findings of fact and conclusions of law:

                                    FINDINGS OF FACT


   1. Defendant El Aguila was a Corporation which operated in the Bronx.

   2. Defendant El Aguila was a restaurant/bar.

   3. Defendant El Aguila’s gross revenue during the relevant time period was in excess of

       $500,000 per year.

   4. Defendant Juan Almonte is the former owner of Defendant El Aguila.

   5. Santiago Almonte is the former manager of Defendant El Aguila.

   6. Defendant El Aguila has been closed since August 2, 2016.

   7. Appearing Defendants employed plaintiff off and on from 2008 through July 26, 2016.

       Plaintiff voluntarily left employment with Appearing Defendants and found another job.

       He subsequently applied for and received his old job back.
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 2 of 11



    8. Plaintiff’s job duties required him to clean the restaurant, accept deliveries, wash dishes

        and on occasion deliver food to customers.

    9. From approximately August 2010 until July 2012 Plaintiff worked five days a week from

        8:30 AM until approximately 4:00 PM.

    10. Plaintiff received no less than $300.00 per week in cash for the work that he performed.

    11. From approximately July 2012 through December 2015, Plaintiff worked 5 days a week.

    12. During four (4) of those days, plaintiff worked from approximately 8:30 AM until 4:00

        PM. On the weekends he would begin working on Saturday at 8:00 PM and finish

        working at 4:00 AM on Sunday.

    13. Plaintiff only worked 40 hours per week.

    14. Plaintiff continued to receive no less than $300 per week in cash for the work that he

        performed for the time period July 2012 through approximately August 1, 2014.

    15. On or about August 2, 2014 through December 2015, Plaintiff received no less than $360

        in cash for the work that he performed.

    16. For the time period November 4, 2015 through July 26, 2016, a paycheck in the gross

        amount of $262.50 was issued by ADP, and no less than $95.00 in cash for a weekly total

        of no less than $360.00.

    17. Plaintiff did not work overtime.

    18. No employee for Appearing Defendants worked overtime.

    19. Plaintiff took beers from the refrigerator and drank them while he should have been

        working.

    20. Plaintiff disappeared for hours at a time and spent at least two hours per day visiting his

        girlfriend.




Proposed Findings Of Facts And Conclusion         2
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 3 of 11



    21. Plaintiff was sent home at least eight times due to being too intoxicated to work.

    22. Plaintiff received a paycheck from ADP because he finally complied with defendants’

        request to provide them with an individual taxpayer identification number so that he

        could be put on the books and receive a paycheck.

    23. Plaintiff received tips from his food deliveries for Defendant employer.

    24. None of the named Defendants played a role in administering the tips of the received.

    25. Defendants required of all employees to sign in and out at work.

    26. Plaintiff refused to sign in and out.

    27. After Plaintiff finished work, he would stay at Defendant El Aguila and drink beer at the

        bar.

    28. The appearing Defendants believed that they complied with the law with their payment

        practices in that they paid at least the minimum wage.

    29. To ensure compliance with the wage and hour laws, Appearing Defendants consulted

        with their accountants, payroll company, and the New York State Department of Labor.

    30. Appearing Defendants posted by the bar, a minimum wage notice so all employees could

        see it.

    31. Over the years, the minimum wage notice was provided by Defendant El Aguila’s

        accountant, Department of Labor or payroll company.

    32. The amount of money that Plaintiff received was based on advice Appearing Defendants

        received from their accountant, Department of Labor or payroll company.



                                        CONCLUSIONS OF LAW


FAILURE TO PAY MINIMUM WAGE UNDER THE FSLA AND NYLL



Proposed Findings Of Facts And Conclusion        3
            Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 4 of 11




        Minimum wage is regulated by statute. The federal minimum wage is $7.25 per hour.

See FLSA § 206(a)(1). The New York State minimum changed between 2010 and 2016. It was

a follow:



                         Time Period Start               Time Period End

                                                                            $
                                   August 25, 2010
                                                         December 30, 2013 7.25

                                                                            $
                               December 31, 2013
                                                         December 12, 2014 8.00

                                                                            $

                               December 13, 2014         December 30, 2015 8.75

                                                                            $

                               December 31, 2015              July 26, 2016 9.00



See 12 NYCRR §146-1.2 (Effective December 31, 2013).



        In this case, Appearing Defendants contend that Plaintiff never worked more than 40

hours per week during the relevant time period. He worked 5 days per week. The Appearing

Defendants ensured that no one worked overtime hours. All payroll decisions were based on

advice from their accountants, consultations with New York State Department of Labor

personnel and their payroll companies to help ensure compliance with the law.



        Wages earned by Plaintiff can be summarized in the chart below:


Proposed Findings Of Facts And Conclusion            4
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 5 of 11




    Defendants' NYLL Calculations

                                                                  Weekly
                                                         Hours
        Time            Time                  Rate                Straight Amount     Weekly
                                     No. of          Worked
       Period          Period                  of                  Time     Actually Underpay-
                                     Weeks                Per
        Start            End                  Pay                  Pay       Paid      ment
                                                         Week
                                                                  Earned

      8/25/2010 12/30/2013 174.71 $7.25                   40.00   $290.00    300.00       0.00

    12/31/2013          8/2/2014       30.57 $8.00        40.00   $320.00    360.00       0.00

       8/3/2014 12/30/2014             21.29 $8.00        40.00   $320.00    360.00       0.00

    12/31/2014 12/30/2015              52.00 $8.75        40.00   $350.00    360.00       0.00

    12/31/2015        7/12/2016        27.71 $9.00        40.00   $360.00    360.00       0.00



        Please note that the chart provides the calculation for the New York Labor Law. At all

times, Plaintiff was paid more than the federal minimum wage of $7.25 per hour.



        If the Court determines that any underpayments occurred, then the Appearing Defendants

request that the Court determine that any underpayment occurred based on a good faith belief by

the Appearing Defendants that they had complied with the law. “If the employer shows to the

satisfaction of the court that any acts or omissions giving rise to this action were in good faith

and that the employer had reasonable ground for believing that the employer’s acts or omission

were not violations of the FLSA, then the court may, in its sound discretion, award no liquidated

damages or award any amount not to exceed the amount of unpaid wages and overtime.” FLSA




Proposed Findings Of Facts And Conclusion            5
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 6 of 11



§260. “Unless the employer proves a good faith basis to believe that any underpayment of

wages was in compliance with the law, an additional amount as liquidated damages equal to one

hundred percent of the total amount of the wages found to be due.” NYLL §198(1-a).



        A finding of good faith is required to avoid an award of liquidated damages. To establish

"good faith," a defendant must produce "plain and substantial evidence of at least an honest

intention to ascertain what the Act requires and to comply with it." Brock v. Wilamowsky, 833

F.2d 11, 19 (2nd Cir. 1987). It requires that an employer first take active steps to ascertain the

dictates of the FLSA and then move to comply with them." Id. If the defendant presents such

proof, the court has discretion to deny or reduce the liquidated damages for all or any part of the

relevant time period. Brock v Wilamowsky, 833 F2d 11, 19 (2d Cir 1987).



        Here, Juan Almonte consulted with his accountants, payroll companies and the New York

State Department of Labor in order to ensure that he properly paid Plaintiff and all other

employees. Plaintiff was paid at or slightly above the minimum wage during his employment.

Plaintiff’s wages were adjusted from time to time and increased in order to comply with the

minimum wage law.



FAILURE TO PAY OVERTIME CLAIMS UNDER THE FSLA AND NYLL



        Under the FLSA, employees who work more than 40 hours per week must be

compensated for each hour worked over 40 'at a rate not less than one and one-half times the

regular rate at which he is employed.'" Young v. Cooper Cameron Corp., 586 F.3d 201, 204 (2d.




Proposed Findings Of Facts And Conclusion       6
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 7 of 11



Cir. 2009) (quoting 29 U.S.C. § 207(a)(1)). NYLL provides that "[a]n employer shall pay an

employee for overtime at a wage rate of 1 ½ the employee's regular rate for hours worked in

excess of 40 hours in one workweek.” 12 NYCRR § 146-1.4. As NYLL employs similar

standards and relies on the FLSA, such claims are often analyzed together. See Reiseck v.

Universal Commc'ns of Miami, Inc., 591 F.3d 101, 105 (2nd Cir. 2010).



        Plaintiff did not work overtime. None of Appearing Defendants employees worked

overtime. It was too expensive to allow employees to work overtime. It was more cost effective

to higher employees to work extra hours as required.



SPREAD OF HOURS



        The spread of hours is the length of the interval between the beginning and end of an

employee's workday. 12 NYCRR §146-1.6. On each day on which the spread of hours exceeds

10, an employee shall receive one additional hour of pay at the basic minimum hourly rate. Id. at

§146-1.6(a).



        There is no spread of hours violation in this case. Plaintiff never worked more than 8

hours per day. His job required him to accept deliveries, clean the restaurant, wash dishes, and

make deliveries during the day. It required nothing more. In short, Plaintiff made sure that the

restaurant was open and ready to function during the evening. Plaintiff stayed in the restaurant

after his shift ended and tended to frequently drink beer at the bar.        However, drinking

complimentary and relaxing after work is not work.




Proposed Findings Of Facts And Conclusion      7
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 8 of 11




NOTICE AND RECORDKEEPING REQUIREMENTS UNDER THE NYLL



        Appearing Defendants have not violated NYLL §195(1). As of 2014, the employer is

required to provide a new employee with information at the time of hiring about “the rate or rates

of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission,

or other; allowances, if any, claimed as part of the minimum wage, including tip, meal, or

lodging allowances; the regular pay day designated by the employer in accordance with section

one hundred ninety-one of this article; the name of the employer; any “doing business as” names

used by the employer; the physical address of the employer’s main office or principal place of

business, and a mailing address if different; the telephone number of the employer. NYLL §195

(2014). The employer is required to maintain that document for six (6) years. Id.



        Appearing Defendants are in compliance with the law. Plaintiff was hired in 2008, this

lawsuit was filed in 2016, well after the duty to maintain the record expired in 2014. Plaintiff

does not have a duty to maintain the record.



        Additionally, I believe that the version of NYLL §195 in effect in 2008 did not require

that the records be kept for six years and quite possibly did not have any time limitations. I have

not found an exact copy of the statute, but cases citing the statute state that the version of NYLL

§195(1) simply require the following: requiring employers to notify employees, at the time of

hiring, of the rate of pay and of the regular pay day) See Pavia v Around the Clock Grocery, Inc.,

2005 US Dist LEXIS 43229, at *19 (EDNY Nov. 15, 2005, No. 03 CV 6465 (ERK)). NYLL




Proposed Findings Of Facts And Conclusion       8
           Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 9 of 11



§195 has been changed three (3) times since Plaintiff’s date of hire in 2008. The first version

enacted in 2009 makes no reference to maintaining employment records for any period of time.

It reads as follows:



Section 1.


    •   Subdivision 1 of section 195 of the labor law, as added by chapter 548 of the laws of

        1966, is amended to read as follows:

    •   1. notify his OR HER employees, IN WRITING, at the time of hiring of the rate of pay

        and of the regular pay day designated by the employer in accordance with section one

        hundred        ninety-one      of   this   article   ,   AND     OBTAIN   A   WRITTEN

        ACKNOWLEDGEMENT FROM EACH EMPLOYEE OF RECEIPT OF THIS

        NOTICE.         SUCH        ACKNOWLEDGEMENT              SHALL    CONFORM     TO    ANY

        REQUIREMENTS ESTABLISHED BY THE COMMISSIONER WITH REGARD TO

        CONTENT AND FORM. FOR ALL EMPLOYEES WHO ARE ELIGIBLE FOR

        OVERTIME COMPENSATION AS ESTABLISHED IN THE COMMISSIONER’S

        MINIMUM WAGE ORDERS OR OTHERWISE PROVIDED BY LAW OR

        REGULATION, THE NOTICE MUST STATE THE REGULAR HOURLY RATE

        AND OVERTIME RATE OF PAY ;


Section 2.


    •   This act shall take effect on the ninetieth day after it shall have become a law and shall

        apply to all employees hired on or after such date. 2009 N.Y. ALS 270, 2009 N.Y.




Proposed Findings Of Facts And Conclusion            9
          Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 10 of 11



         LAWS 270, 2009 N.Y. S.N. 3357, 2009 N.Y. ALS 270, 2009 N.Y. LAWS 270, 2009

         N.Y. S.N. 3357. (capitalization from the original)


         The Appearing Defendants complied with the law and provided Plaintiff with all

documentation needed to comply with the Department of Labor. They wanted to ensure full

compliance with the relevant laws and regulations. In 2008, there was no duty for an employer

to maintain notice provided pursuant to Labor Law §195(1) for any period of time. Even if there

is a requirement, Plaintiff had no duty to maintain the records for longer than six (6) years. The

court should determine based on the testimony, that the Appearing Defendants have complied

with the law.




WAGE STATEMENT PROVISION OF THE NYLL



                NYLL §195(3) requires the employer to provide a paystub which identifies eight

items including among other things the time period of the wages, rate of pay, gross wages and

net wages. The appearing Defendants have complied with NYLL §195(3) since November

2015, when Plaintiff was placed on payroll. At that time, he received a wage statement issued by

ADP.



                                            CONCLUSIONS



         For all the foregoing reasons the Appearing Defendants request that the Court issue an

order:




Proposed Findings Of Facts And Conclusion        10
          Case 1:16-cv-06691-JLC Document 46 Filed 01/04/18 Page 11 of 11



             1. Dismissing Plaintiff’s claims in the entirety.


Dated: Bronx, NY
       January 4, 2018


                                                                  /s/
                                                       Delmas A. Costin, Jr., Esq.
                                                       Law Office of Delmas A. Costin, Jr., PC
                                                       177 East 161st Street
                                                       Bronx, NY 1045
                                                       718) 618-0589 (O)
                                                       (347) 510-0099 (F)
                                                       dacostin@dacostinlaw.com


        Sara Isaacson, Esq.
        Shawn Clark, Esq.
        Michael Faillace & Associates, PC
        60 East 42nd Street, Suite 4510
        New York, New York 10165
        (212) 317-1200 (O)
        (212) 317-1620 (F)
        sisaacson@faillacelaw.com
        sclark@faillacelaw.com




Proposed Findings Of Facts And Conclusion         11
